Case 2:21-cv-01789-APG-BNW Document 21
                                    20 Filed 11/19/21
                                             11/18/21 Page 1 of 3
Case 2:21-cv-01789-APG-BNW Document 21
                                    20 Filed 11/19/21
                                             11/18/21 Page 2 of 3




                            Order
               IT IS ORDERED that ECF No. 20 is
               DENIED consistent with the Court's
               prior orders on this issue.
                       IT IS SO ORDERED
                       DATED: 2:18 pm, November 19, 2021



                       BRENDA WEKSLER
                       UNITED STATES MAGISTRATE JUDGE
Case 2:21-cv-01789-APG-BNW Document 21
                                    20 Filed 11/19/21
                                             11/18/21 Page 3 of 3
